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       EXHIBIT 11
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                                         March 15, 2023
CBP Appeals Officer
U.S. Customs and Border Protection
FOIA Appeals, Policy and Litigation Branch 90
K Street NE,
Washington, D.C. 20229 Dear

CBP Appeals Officer:

I am appealing the full denial of my Customs and Border Protection’s Freedom of Information
Act (FOIA) request CBP-FO-2023-053731, dated March 8, 2023, as per the Department of
Homeland Security (DHS) and U.S. Customs and Border Protection (CBP) regulations 6 CFR
Part 5, and 19 CFR Part 103. Specifically, I am appealing under section §5.8(a)(1) adverse
determination denying my request in full, and I am appealing the search because I am questioning
the adequacy of the search.

On March 8, 2023, I requested:

       Pursuant to the Freedom of Information Act, 5 U.S.C. § 552, and the
       implementing FOIA regulations of the Department of Homeland Security
       (DHS), Office of the Secretary, 6 CFR Part 5, I respectfully request the
       following records (or records containing the following information) that DHS,
       U.S. Customs and Border Protection (CBP), and U.S. Citizenship and
       Immigration Services (USCIS) have within its possession:

       Section 1) All records within the Alien File (A-File) of Prince Henry Charles
       Albert David (Date of Birth 09/15/1984) of the British Royal Family aka
       Prince Harry aka His Royal Highness Prince Henry of Wales aka the Duke
       of Sussex, including but not limited to:

       • Any and all applications for immigration benefits filed, whether or not
       adjudicated;
       • Any and all Forms I-213;
       • Any and all Forms I-275; and
       • Any and all Forms I-877.

       Section 2) All records pertaining to the Duke of Sussex in the following
       system of records maintained by CBP and DHS
       • Automated Targeting System (ATS, DHS/CBP-006);
       • Advance Passenger Information System (APIS, DHS/CBP-005);
       • Border Crossing Information System (BCIS, DHS/CBP-007);
       • U.S. Customs and Border Protection TECS (DHS/CBP-011);
       • Non-Federal Entity Data System (NEDS, DHS/CBP-008);
       • DHS Use of the Terrorist Screening Database (TSDB) System of Records
       (DHS/ALL-030);
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       • CBP Intelligence Records System (CIRS, DHS/CBP-024);
       • DHS Automated Biometric Identification System (IDENT, DHS/USVISIT-
       004);
       • Electronic System for Travel Authorization (ESTA, DHS/CBP-009);
       • Nonimmigrant Information System (NIIS, DHS/CBP-016);
       • Arrival and Departure Information System (ADIS, DHS/CBP-021);and
       • Electric Visa Update System (EVUS., DHS/CBP-022).

        Section 3) All records relating to any requests for waiver pursuant to Section
        212(d)(3) of the Immigration and Nationality Act including, but not limited
        to, email communications within the DHS Office of the Secretary, the USCIS
        Office of the Director, the CBP Office of the Commissioner, or any
        subordinate office within those named departments or agency or a record of
        any communication between any of those named entities and the U.S.
        Department of Stater, the U.S. Embassy in London, the Federal Bureau of
        Investigation, or U.S. Immigration and Customs Enforcement.
         .
I am appealing the adverse determination denying my request in full because CBP violated DHS
FOIA regulations, specifically, sections §5.6(e), §5.6 (e)(1), §5.6 (e)(2), and §5.6 (e)(3). There
was a violation of §5.6(e) because no one signed off on the denial as required per statute. There
was a violation of §5.6(e)(1), because there was no name, no title, no position of the person
responsible for the denial as required by statute. There was a violation of §5.6(e)(2), because
there were no descriptions of the FOIA exemptions applied by CBP in denying the request, even
though the statute states there should be a brief statement of the reasons for the denial, including
any FOIA exemption applied by CBP in denying the request. There was a violation of §5.6(e)(3),
because there was no estimate of the volume of the records withheld, or a statement that it was
protected by an applicable exemption as required. Specifically, it states:

        … the estimate of the volume of any records or information withheld, for example, by
        providing the number of pages or some other reasonable form of estimation. This
        estimation is not required if the volume is otherwise indicated by deletions marked on
        records that are disclosed in part, or if providing an estimate would harm an interest
        protected by an applicable exemption.

I am also appealing this request because I am questioning the adequacy of the search as per §5.8
(a)(1). A third-party release is not necessary for this request because there is an overwhelming
countervailing public interest in the disclosure. Public confidence in the government would
undoubtedly suffer if DHS, CBP, and USCIS failed to properly vet such a high-profile case.
Moreover, if Prince Harry was granted preferential treatment that to would undermine public
confidence in DHS, CPB, and USCIS’s application of equal justice under the law. Also, there was no
page count or file size of the search, or a description of where the search was conducted. I
believe there was no search regarding this request.

I respectfully request that CBP reassess its response, search for records, and provide responsive
records. If any portion of this request is denied for any reason, please provide copies of the
records or portions of records that are being withheld and cite each specific exemption of the
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Freedom of Information Act on which the agency relies.

Please provide partial responses when they are ready. Thank you in advance for considering my
Appeal. If you have any questions, please contact me at oversightproject@heritage.org.

                                            Sincerely,

                                            Mike Howell
                                            Director of the Oversight Project and Investigative
                                            Columnist at The Daily Signal
                                            The Heritage Foundation
